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                   IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA D]VISION


    UN:TED STATES OF AMERICA                        Criminal No: 3: 17-905

                        V
                                                                 PI-EA AGREEMENT
    JOHN FHILLIP DRAWDY


                                     General Provisions
                                                          /./
         This PLEA AGREEMENT is made thi,
                                          qk,       A(
                                              ' ", -----r                     2018, between

the United States of America, as                                States Attorney BETH DRAKE,

Assistanl United States Attorney                      r; the Defendant, JOHN PHILLIP
                                                    K-J-; k-
D   RAWDY, a nd Defe n da nt's atto rney, Ja€on€earrql"
                                            -JooL
         lN CONSIDiRATION of the mutual promises made herein, the parties agree as

follows:

1   .    The Defendant agrees to plead guilty to Count One of the Superseding lndictment

         now pending, which charges "Conspiracy to Possess with lntent to Distribute and

         to Distribute Methamphetamine, a violation of Title 21, United States Code, $$

         Bal(aX1), 841(bX1XA), and 846.

         ln order to sustain its burden of proof, the Governmenl is required to prove the

following:

                                         Cgunt One

         1.     fhe conspiracy described in the Superseding lndictment to distribule    the
                charged amount of controlled substances was willfully formed and was
                existing at or about the alleged time;

         2.     fhe defendant willfully became a member of the conspiracy; and

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       3      The defendant distributed a quantity of a controlled substance(s) equal to
              or in excess of the amount charged in Count 1, agreed to assist in the
              distribution of a quantity of controlled substance(s) equal to or in excess of
              the amount charged in Count 1 , or the distribution of the threshold quantity
              of controlled substance(s) equal to or in excess of the amount charged in
              Count 1 was reasonably foreseeable to the defendant and same was within
              the scope of the defendant's agreement and understanding.

The penalty for this offense is:

21 USC 841 (a)(1 ), (bxl XA) - in a case involving 50 grams or more of methamphetamine
and 500 grams or more of a mixture ol substiance containing a deleclable amount of
methamphetamine, and one prior felony drug conviction - a minimum term of
imprisonment of 20 years and a maximum term of imprisonment of life, no probation, no
parole, a fine of $20,000,000 and a term of supervised release of at least ten (10) years
in addition to any term of imprisonment, plus a special assessment of $'100.

2.     The Defendant understands and agrees thal monetary penalties [i.e., special

       assessments, restitution, fines and other payments required under the sentencel

       imposed by the Court are due immediately and subject to enforcement by lhe

       United States as civiljudgments, pursuantto 18 USC S 3613. The Defendant also

       understands that payments made in accordance with installment schedules set by

       the Court are minimum payments only and do not preclude the government from

       seeking to enforce the judgmenl against other assets of the defendant at any time,

       as provided in 18 USC SS 3612, 3613 and 3664(m).

       The Defendant further agrees to enter into the Bureau of Prisons lnmate Financial

       Responsibility Program if sentenced to a term of incarceration with an unsatisfied

       monetary penalty. The Defendant further understands that any monetary penalty

       imposed is not dischargeable in bankruptcy.

              A.      Special Assessment: Pursuant to     l8 U.S.C. $3013, the Defendant

                      must pay a special assessment of $100.00 for each felony count for


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                    which he is convicted. This special assessment must be paid at or

                    before the time of the guilty plea hearing.

             B.     Restitution: The Defendant agrees to make full restitution under 18

                    U.S.C. S 3556 in an amount to be determined by the Court at the

                    time of sentencing, which amount is not limited to the count(s) to

                    which the Defendant pled guilty, but will include restitution to each

                    and every identifiable victim who may have been harmed by his

                    scheme or pattern of criminal activity, pursuant to 18 U.S.C. S 3663.

                    The Defendant agrees to cooperate fully with the Government          in

                    identifoing all victims.

             C.     Fines: The Defendant understands that the Court may impose a fine

                    pursuantto 18 U.S.C. $$ 3571 and 3572.

 3.   Provided the Defendant complies with all the terms of this Agreement, the United

      States agrees to move to dismiss the remaining counts of the Superseding

      lndictment, at sentencing. The Defendant understands that the Court may

      consider these dismissed counts as relevant conduct pursuant to S181.3 of the

      United States Sentencing Guidelines.

 4.   The Defendant understands that the obligations of the Government within the Plea

      Agreement are expressly contingent upon the Defendant's abiding by federal and

      state laws and complying with any bond executed in this case. ln the event that

      the Defendant fails to comply with any of the provisions of this Agreement, either

      express or implied, the Government will have the right, at its sole election, to void




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       all of its obligations under this Agreement and the Defendant will not have any right

       to withdraw his plea of guilg to the offense(s) enumerated herein.

                               CooDeration and Forfeiture

5      The Defendant agrees to be fully truthful and forthright with federal, state and local

       law enforcement agencies by providing full, complete and truthful information

       about all criminal activities about which he has knowledge. The Defendant must

       provide full, complete and huthful debriefings about these unlawful activities and

       must fully disclose and provide truthful information to the Government including

       any books, papers, or documents or any other items of evidentiary value to the

       investigation. The Defendant must also testifo fully and truthfully before any grand

       juries and at any trials or other proceedings if called upon to do so by the

        Government, subject to prosecution for perjury for not testifying truthfully' The

       failure of the Defendant to be fully truthful and forthright at any stage will, at the

        sole election of the Government, cause the obligations of the Government within

        this Agreement to become null and void. Further, it is expressly agreed that if the

        obligations of the Government within this Agreement become null and void due to

        the lack of truthfulness on the part of the Defendant, the Defendant understands

        that:

                a.   the Defendant will not be permitted to withdraw his plea of guilty to

                     the offenses described above;

                b.    all additional charges known to the Government may be filed in the

                      appropriate district;




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               c.        the Government will argue for a maximum sentence for the offense

                         to which the Defendant has pleaded guilg; and

               d.        the Government will use any and all information and testimony
                         provided by the Defendant pursuant to this Agreement, or any prior

                         proffer agreements, in the prosecution of the Defendant of all

                         charges.

o      The Defendant agrees to submit to such polygraph examinations as may be

        requested by the Government and agrees that any such examinations shall be

       performed by a polygraph examiner selected by the Government. Defendant

       further agrees that his refusal to take or his failure to pass any such polygraph

       examination to the Government's satisfaction will result, at the Government's sole

       discretion, in the obligations of the Government within the Agreement becoming

        null and void.

7      The Government agrees that any self-incriminating information provided by the

        Defendant as a result of the cooperation required by the terms of this Agreement,

       although available to the Court, will not be used against the Defendant in

       determining the Defendant's applicable guideline range for sentencing pursuant to

       the U.S. Sentencing Commission Guidelines. The provisions of this paragraph

       shall not be applied to restrict any such information:

               a.        known to the Government prior to the date of this Agreement;

               b.        concerning the existence of prior convictions and sentences;

               c.        in a prosecution for perjury or giving a false statement;




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               d.     in the event the Defendant breaches any of the terms of the Plea

                      Agreement; or

               e.     used to rebut any evidence or arguments offered by or on behalf of

                      the Defendant (including arguments made or issues raised sua
                      sponte by the District Court) at any stage of the criminal prosecution

                      (including bail, trial, and sentencing)"

8       Provided the Defendant cooperales pursuant to the provisions of this Plea

        Agreement, and that cooperation is deemed by the Government as providing

        substantial assistance in the investigation or prosecution of anolher person the

        Government agrees to move the Court for a reduction of senlence pursuant to

        USSG 5K1.1 9g Federal Rule of Criminal Procedure 35(b). Any such motion by

        the Government is not binding upon the Court, and should the Court deny the

        motion, the Defendant will have no right to withdraw his plea.

s       The Defendant stipulates and agrees that he has one prior felony drug conviction

        that has become final and that the Attorneys for the Government have filed an

        lnformation pursuant to 21 U.S.C.   S   851 which subjects him to enhanced penalties.

        The Defendant further stipulates and agrees that this paragraph and the
        lnformation that has been filed pursuant thereto fulfills the requirements of $ 851,

        including service, and constitutes adequale and sufficient notice of a prior felony

        drug conviction for purposes of that statute. The Defendant agrees to not contest

        the lnformation that has been filed pursuant to 21 U.S.C. $ 851 in accordance with

        this paragraph.




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'10.   The Defendant agrees to voluntarily abandon all right, title, interest and claim in

       firearms, ammunition, and cash seized from him, towit: an FT, ModelWilness PS,

       9mm firearm, Serial Number EAS57645, a Cobra, Model Patriot, .9mm firearm,

       Serial Number 05093, assorted ammunition, and United States Currency in the

       amount of $5434.00.

11.    The Defendant also agrees to voluntarily transfer all right, title, interest and claim

       in the above-described property and/or assets to the United States of America.

       Furthermore, the Defendant attests, under penalty of perjury, that the Defendant

       owns the abovedescribed property and/or assets free               of any liens and
       encumbrances, and that no other person or entity has a claim to the above-

       described property and/or assets.

                              Merqer and Other Provisions

  12.The Attorneys for the Government agree to recommend that the Defendant not be

       prosecuted for any similar or related state crimes, so long as the Defendant

       complies with the terms of this Plea Agreement. The Defendant understands that

       this is only a recommendation and is not binding upon any Solicitor's Office.

  13.The Defendant represents to the court that he has met with his attorney on a

       sufficient number of occasions and for a sufflcient period of time to discuss the

       Defendant's case and receive advice; that the Defendant has been truthful with his

       attorney and related all information of which the Defendant is aware pertaining lo

       the case; that the Defendant and his attorney have discussed possible defenses,

       if any, to the charges in the Superseding lndictment including the existence of any

       exculpatory or favorable evidence or witnesses, discussed the Defendant's right



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      to a public trial by jury or by the Court, the right to the assistance of counsel

      throughout the proceedings, the right to call wllnesses in the Defendant's behalf

      and compel their attendance at trial by subpoena, the right to confront and cross-

      examine the governmenfs witnesses, the Defendant's right to testify in his own

      behalf, or to remain silent and have no adverse inferences drawn from his silence;

      and that the Defendant, with the advice of counsel, has weighed the relative

      benefits of a trial by jury or by the Court versus a plea oI guil$ pursuant to this

      Agreement, and has entered this Agreement as a matter of the Defendant's free

      and voluntary choice, and not as a result of pressure or intimidation by any person.

 14.The Defendant is aware that 18 U.S.C. $ 3742 and 28 U.S.C. $ 2255 afford every

      defendant certain rights to contest a conviction and/or sentence. Acknowledging

      those rights, the Defendant, in exchange for the concessions made by the

      Government in this Plea Agreement, waives the right           to contest either the
      conviction or the sentence in any direct appeal or other post-conviction action,

      including any proceedings under 28 U.S.C. S 2255. This waiver does not apply

      to claims of ineffective assistance of counsel, prosecutorial misconduct, or future

      changes in the law that affect the defendant's sentence. This agreement does not

      affect the rights or obligations of the Government as set forth in 18 U.S.C.        S

      3742(bt. Nor does it limit the Government in its comments in or responses to any

      post-sentencing matters.

15.   The Defendant waives all rights, whether asserted directly or by a representative,

      to request or receive from any department or agency of the United States any

      records pertaining to the investigation or prosecution of this case, including without



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        limitation any records that may be sought under the Freedom of lnformation Act, 5

        U.S.C. S 552, or the Privacy Act of 1974,5 U.S.C. $ 552a.

16.     The parties hereby agree that this Plea Agreement contains the entire agreement

        of the parties; that this Agreement supersedes all prior promises, representations

        and statements of the parties; that this Agreement shall not be binding on any party

        until the Defendant tenders a plea of guilty to the court having jurisdiction over this

        matter; that this Agreement may be modified only in writing signed by all parties;

        and that any and all other promises, representations and statements, whether

        made prior to, contemporaneous with or after this Agreement, are null and void.




  4-/7*/       /                                       DRA                  DANT
Dale


L/-/1-/
Date                                                              Defendant

                                           ehi*
                                      BETH DRAKE
                                      UNITED


D)rte
                   l$                 Nancy C.    r (#4633)
                                      ASSISTANT UNITED STATES ATTORNEY




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                  U. S. DEPARTMENT OF JUSTIGE
           Statement of Special Assessment Amount

  This statement reflects your special assessment only. There
  may be other penalties imposed at sentencing . This Special
  Assessment is due and pay able at the time of the execution
  of the plea aqreement.


                       ACCOUNT INFORMATION
CRIM. ACTION NO.:             3:17-905
DEFENDANT'S NAME:             JOHN PHILLIP DRAWDY
PAYTHIS AMOUNT:               $100.00
PAYMENT DUE ON OR                                    (date plea agreement signed)
BEFORE:

  MAKE CHECK OR MONEY ORDER PAYABLE TO:
  CLERK, U.S. D'SIR'CT COURT

  PAYMENT SHOULD BE SENT TO:
  Clerk, U.S. District Gourt
  Matthew J. Perry, Jr. Gourthouse
  901 Richland Street
  Columbia, SC 29201

  OR HAND DELIVERED TO:
  CIerk's Office
  Matthew J. Perry, Jr. Gourthouse
  901 Richland Street
  Columbia, SG 2920{ (Mon. - Fri. 8:30 a.m.- 4:30 p.m.)
   INCLUDE DEFENDANTS A/AME ON CHECK OR MONEY ORDER (09 Not sencl cas!)

  ENCLOSE IHIS COUPON TO TNSURE PROPER and PROMPT APPLICATION OF PAYMENT


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